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EXhibit 1

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Exhibit 2

 

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Eegleeank
Outgoing wire » Advice of Debit
Date 95/26/2617 wire Create Time (PST): 1258

Account # : ****17197
Name :
Amount $125,9@6.66

GFX Reference :_799
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116

BeneFiciari:

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Benk to Bank Info (BBI):

Reference for Beneficiary (RFB}:

Other Infoz

Fed Reference Number

OMAD: TOl

Fees will be charged as per respective Fee schedules.

This message is for the sole use of the intended recipient, and may contain
confidential and privileged information. Any unauthorized review, use, disclosure or
distribution is prohibited. lt you are not the intended recipient, please contact
the sender by phone or fex end destroy all copies of the original message.

Page 1

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advice.txt
Please do not respond to this email address as it is an unmonitored meilbox.

Questions related to this email should be directed to your local EagleBank wire
department at

Page 2

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Exhibit 3

 

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Exhibit 4

 

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Exhibit 5

 

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Exhibit 6

 

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November 30, 2016

 

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Exhibit 7

 

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Exhibit 10

 

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EXhibit 11

 

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DMP INTERNATIONAL, LLC
sCHEDULF. oF ASSETS AND LIABmITIEs
(INCOME TAX BASIS)

DECEMBER 31, 2016

NOTES AND LOANS RECEIVABLE

NOTES AND LOANS RECE!VABLE

$ 20.000

29,200
TOTAL OTl-IER LOANS $ 49,200

DUE FROM AFFILIATES

PAUL AND KATHLEEN MANAFORT $ 11821,358
TDTAL DUE FROM AFFILIATES l 821 356
TOTAL NO'I`ES AND LOANS RECEIVABLE 1 870 56
TOTAL NOTES AND LOANS RECEIVABLE § 1:870:556

FOB DISCUSSION HIRPDS`ES ONLY, SUBIECI` TG FINM.. REVIEW
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Exhibit 12

 

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Who is ihe sending party

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Exhibit 13

 

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PROIV[[SSORY N()TE SECUREI)

$125,000.00 Pelrn Beach Ga.rdcns, Floride
Datc; Scptcmbcr 14, 2017

FOR VALUE RECEIVED, the undersigned promises to pay to the order of -

_“Payce”) in Fort Laudcrdalc, Floride, or at such other place as the holder of this Note
shall designate by written notice to the unrtcri~'.ignedl the sum of ONE HU'N'DRED AND TWENTY

FIVE THOUSAND DOLLARS ($125,000.00), in lawful inoncy of the Unitcd Statcs, with interest
thereon from and including the date of this Note, but not including the date this Notc is peid. Simplc
interest shell accrue at the rate of 5% per annuln. Peyments shall bc made pursuant to the following
schedulc: '

March 15, 2013 - $65,62_4.98;
.l`unc 15, 2018 - $32,812.49;
Septembcr 15, 2018 - $32,812.49.
Principal and interest shall bc payable to thc Payec in lawful money ofthc Unitcd Stetcs.

ln the event this Notc is not paid when duc, the undersigned promises to pay, in addition to
thc unpaid principal sum, together with ali accrued interest all costs of collection including
reasonable attorney’s fccs.

The undersigned hereby waives presentment end demand for payment notice of dishonor,
protest end notice of protest of this Notc.

"['his Notc Shall be deemed to have been entered in the Stetc of Florido and any dispute
arising hereunder shall bc commenced in a court having appropriate jurisdiction within the State of
Florida.

By: __ __
Poul Menei`ort
Dntcd:

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Exhibit 14

 

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From: Pau| Manafert _
&ent'. Sunda, Se rem er 24 2017 10 55 AM

To:

$\lh]eet: 2017 income

Thls ls income for 2017.

l had the vendor pay directly to_

l made the ayment this way because of complications in my banking. l will explain to you when l meet.
l|l be sending me the 10995 at the appropriate tlrne.
Pls enter as income for me for 2017 In your |edger.

Thank you

Paul

l=~»m=_

Dete: Thursday, September 21, 2017 at 2:40 P|Vl w -
T°= P°“' ME"“"'s"_

Sl-lblect: Was Good Ta|klng Yesterday d wm md

As ou are aware on June 25 2017 d s ms umw-m

n your behalf.
We will get you the tax documents you need as required.
Let me know lf you have any questions.

Look forward to seeing you again sometime in the next few weeks.

 

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Exhibit 17

 

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From:

$lnt: 'iuesdey. October 30, 20114:21 PM
Td:

Subje¢t: e: Spoite with PM

Attlchmenv: Note.pdf

Pau| borrowed $125k from h|m last year. l dont have the slgned version, but attached ls the draft which l think was
signed without change.

-nade the interest payments this year‘(l think current).

ls there even anything that you need to have done with it?

on ve w m 2013 at »~= _~me=
l am not aware of any note from that name. Whet is it?

 

>

> He asked how you handled the $1251: note from-
>

> ¢iiso,l l am seeing him on Saturday. Do you need me to take anything to him?
d

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PRDMISSORY NOTE SECURED

$125,000.00 Palm Beach Gerdens, Florida
Dale: September 14, 2017

' FOR VALUE RECEIVED, the undersigned promises to pay to the order of-
“Payee”) in Fort lauderdale, Florida. or at such other place as the holder oi" this Note
shall designate by written notice to the 'undersigned, the sum ofONE HUNDRED AND TWENTY
FlVE THOUSAND DOLLARS ($i 25,000.00), in lawful money of the United States, with interest
thereon from and including the date of this Note, but not including the date this l‘~lote is paid. Simpie
interest shall scenic et the rate of$% per annum. Payments shell be mode pursuant to the following
aehedttle:

March 15, 2013 - $65,624.98;
June 15, 2018 - $32,812.49;
Septernber i$, 2018 ~ 532,812.49.
Principai and interest shall be payable to the Payee in lawful money of the United States.

in the event this Note is not paid when due. the undersigned promises to pay, in addition to
the unpaid principal sum, together with ali accrued interest, ali costs of collection including
reasonable attorney‘s fees.

The undersigned hereby waives presentment and demand for ;:iayrnentl notice of'r.lishonor1
protest and notice of protest of this Note.

Th is Note shall he deemed to have been entered in the State of Florida and any dispute
arising hereunder shall be commenced in a court having appropriatejurisdietion within the Stste of
Floridu.

By:
Paul Manaforl
Dated:

 

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Exhibit 18

 

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Exhibit 100

 

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Manafort Proffer

EDVA lGuilty Verdicts on Counts 1-5l 12l 25l 271
Counts 1-5 (7205(1])
dl told my bookkeeper and accountants about income that passed into my U.S. bank accounts

~ l did not reveal to them the income that went from rny Cypriot bank accounts to vendors in the
U.S. for my personal benefit

-Niy individual income tax returns thereby underreportecl my income, and | knew that they were
false when | filed them.

-| removed my signature authority over the various t”.`ypriot bank accounts but | continued to
exercise control over the accounts by instructing Rick Gates how to transfer the monies in those
accounts

-When my accountants asked me lf l had any foreign bank accounts, l answered "rlo." As a
resu|t, Schedu|e B of my Form lorin individual income Tax Returns was faise, and l knew that it
was false when l filed it.

counts 11-14 (FsAR)

-when my-accountants asked me if| had any foreign bank accountsl | answered “no.” As a result,
l caused my accountants to fail to file annual FBAR forms, and | knew that l Was required to file

them.
Counts 24-25 iCitizens Howard Street}

-| submitted a false 2014 DiV|| tax return to Citizens in support of my loan application lt Was
false in that it reported a $1.5 million debt to Peranova. | knew that this was not a bona fide
loan and was actually income in a prior year.

-| then caused Rick Gates and others to create and send false documentation to Citizens showing
that the Peranova loan had been forgiven in 2015.

1| falsely represented to Citizens that l~ioward Street was a second horne for.ieff Yohai and
lessica and was not a rental property, when l knew that they were renting out the property.

Counts 216-27 (Banc of Californial
-l caused to be submitted to the Banc of California a falsified 2015 DNl| P&L that overstated

income by 54 million.

Count 28 (Citizens Union Street)

l caused leff Yohai to submit on rny behalf a falsified 2016 DM| YTD P'&L that overstated income
by more than $2 million.

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Counts 29-32 (FSB)

-| caused to be submitted to FSB doctored P&Ls for DM| for 2015 and 2015, which overstated
income by 54 million and $3.5 million

-| also falsely represented to FSB that a 5300,000 delinquency on my D|V|i AMEX card was not
DM|'s but rather was nick Gates's personal expenditure and had Rick Gates submit a false letter

in support
FARA
-l failed to register as an agent of a foreign principal.

-l knew that my representation of the Party of Regions within the United States, lncludlng a
meeting with a U.S. Congressman, required me to file a FARA statement

-l also aided and abetted _ in their failure to register as agents of a

foreign principal.

-l assisted them in using a nominee client, the ECFMU, to create the appearance that they
qualified for the LDA exemption to FARA when we all knew that their true client was the Party of

Regions.
-| caused false statements to be made to the DOJ FARA office of the National Securlty Divlsion of
the DClJ.

-i knew that D|V||'s representation of the Party of Regions included meetings and outreach
within the United States. l also knew that Ricl< Gates and l arranged and facilitated
communications with U.S. officials and media outlets.

-l also knew that,l although DM| had a written BO-day document retention policy, Rick Gates and
l had and could have produced documents that were older than 30 days.

-l together with Rick Gates, failed to file Foreign agent registration forms.

Count 2 {Consplracy to Launder lVloney)

~i, together with Rick Gates, conducted financial transactions by sending money from Cyprus to
the United States to pay for my personal expenditures and investments, knowing that the
money came from my consulting work in Ukraine for which l did not register under FARA.

-The transactions were not reported to the bookkeeper or accountants and were therefore not
reported on my federal income tax returns thereby underreporting my taxable income

Count 3 (Fai|ure to Register under FARA]

-| failed to register as an agent of a foreign principal. l knew that my representation Of the Pal'fv
of Flegions within the United States, including a meeting with a U.S. Congressman, required me

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to file a FARA statement, as did my role in supervising the activity of U.S. consultants who
conducted lobbying activity in the U.S. and assisting in those activitiesl

-| also aided and abetted _, in their failure to register as agents of a
foreign principal by representing that the ECFMU was their client when the true client was the
Party of Flegions.

Count 5 (Fa|se Statements (1001)}

-l made the false statements described in Count 4 to the FARA office, which is a part of the
Ekecutlve Branch of the U.S. governmentl

Witness tampering

-ln response to press reports concerning the Superseding indictment l attempted to contact Mr.
-, a former consultant that l had worked with regarding Ukraine political issues, through
a group known as the Hapsburg Group

-l left a message for Mr. - emphasizing that his group was working in Europe.

- l contacted KK andl requested that he reach out to Mr. - and another member of the
Hapsburg group to do the same

-knowing that iVlr. _ and the members of the l-iapsburg group also directed their
Ukrainlan outreach into the united States and previously including meeting with members of
the U.S. government

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Exhibit 201

 

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Exhibit 202

 

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Exhibit 203

 

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issues '

Manage
Document '

 

 

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Read-On|y Document

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Compatibility Mode

Some new features are disabled to prevent
problems when working with previous versions
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Protect Document

Conlrol what types of changes people can make
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